         Case 1:21-cv-05197-MHC Document 5 Filed 01/13/22 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONALD CLARK WRIGHT, III,                    )
                                             )
       Plaintiff,                            )
                                             )        CIVIL ACTION FILE NO.:
v.                                           )        1:21-CV-5197-MHC
                                             )
BRANDON WARREN and VICTOR HILL,)
in their individual and official capacities, )
                                             )
       Defendants.                           )
                                             )

   DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT

      COME NOW Defendants Brandon Warren and Victor Hill (hereinafter

“defendants”), by and through the undersigned counsel of record, and hereby file

this motion to dismiss plaintiff’s complaint (Doc. 1). Pursuant to Fed. R. Civ. P.

12(b), defendants respectfully request that this Court dismiss plaintiff’s complaint.

      In support of this motion, defendants rely upon the arguments and citations

to authority presented in the accompanying memorandum of law, which they file

contemporaneously with this motion. For the reasons more fully set forth in the

accompanying memorandum of law, defendants’ motion should be granted.

                                        FREEMAN MATHIS & GARY, LLP


                                        /s/ A. Ali Sabzevari
                                        Jack R. Hancock
                                        Georgia Bar No. 322450
        Case 1:21-cv-05197-MHC Document 5 Filed 01/13/22 Page 2 of 3




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                                   Attorneys for Defendants




                                    -2-
        Case 1:21-cv-05197-MHC Document 5 Filed 01/13/22 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT to the

Clerk of Court using the CM/ECF system which will automatically send electronic

mail notification of such filing to counsel of record who are CM/ECF participants:

                               William S. Cowsert
                               Joseph D. Stephens
                               Cowsert Heath, LLP
                                  P.O. Box 627
                              Athens, Georgia 30603

      This 13th day of January, 2022.

                                        FREEMAN MATHIS & GARY, LLP

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